                Case
     Fill in this       2:20-bk-13542-SK
                  information to identify your case:   Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40                                   Desc
                                                       Main Document    Page 1 of 57
     United States Bankruptcy Court for the:

     ____________________
     Central               District of _________________
             District of California    (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                            
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Ghost  Vapes, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               520 Broadway                                             _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Santa Monica                  CA    90401
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Los Angeles County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.ghostvapes.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Ghost Vapes, Inc.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            4543
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the             
                                         ✔ Chapter 7
      debtor filing?                      Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                             small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these documents do
                                                             not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                             proceed under Subchapter V of Chapter 11.

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                             accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                             and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                             File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter
                                                             11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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              Ghost Vapes, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000
                                             ✔
                                                                               $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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  UNANIMOUS WRITTEN CONSENT TO ACTION OF BOARD OF DIRECTORS
        OF GHOST VAPES, INC., A DELAWARE CORPORATION,
                  TAKEN WITHOUT A MEETING

           Pursuant to the Delaware General Corporation Law, and the articles of
  incorporation and bylaws of Ghost Vapes, Inc., a Delaware corporation (the
  “Corporation”), the undersigned individual, being the sole member of the Board of
  Directors of the Corporation (the “Board”), hereby adopts, approves, confirms and
  ratifies the following recitals and resolutions:

         WHEREAS, the Corporation is insolvent and unable to pay its debts as they
  mature, and

           WHEREAS, it would be in the best interests of the creditors for the Corporation
  to file a voluntary petition under Chapter 7 of the Bankruptcy Code,

          NOW, THEREFORE, BE IT RESOLVED, that Aric Jennings, President of this
  Corporation, is authorized and directed to execute and deliver all documents necessary to
  perfect the filing of a Chapter 7 voluntary bankruptcy on behalf of the Corporation; and

          BE IT FURTHER RESOLVED, that Aric Jennings, President of this Corporation,
  is authorized and directed to employ Joseph P. Buchman, attorney and the law firm of
  Burke, Williams & Sorensen, LLP to represent the Corporation in such bankruptcy case.



  Date: March 24, 2020
                                       ARIC JENNINGS, SOLE DIRECTOR




  LA #4821-3807-1993 v1
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address
 Joseph P. Buchman (CA SBN 148983)
 Email: jbuchman@bwslaw.com
 BURKE, WILLIAMS & SORENSEN, LLP
 444 S. Flower St., Suite 2400
 Los Angeles, CA 90071
 Phone: (213) 236-0600
 Fax: (213) 236-2700



      Attorney for: Debtor Ghost Vapes, Inc.

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:
 GHOST VAPES, INC.                                                           CASE NO.:
                                                                             ADVERSARY NO.:
                                                                             CHAPTER: 7
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),              and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant) Aric Jennings                                          , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                  F 1007-4.CORP.OWNERSHIP.STMT
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 Fill in this information to identify the case:

                Ghost Vapes, Inc.
  Debtor name _________________________________________________________________

                                          Central District of California
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          99,091.97
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                             99,091.97
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                            1,823.50
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        2,970,694.44



4. Total liabilities ...........................................................................................................................................................................        2,972,517.94
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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  Fill in this information to identify the case:

               Ghost Vapes, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Central District of California
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Aliance Bank of Arizona
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   0.00
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 238.75
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 238.75
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Security Deposit with Evo Payment Processing
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    Unknown
         Security Deposit with WeWork
    7.2._________________________________________________________________________________________________________                 $_______________________
                                                                                                                                    Unknown



   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor            Ghost Vapes, Inc.                       Main Document
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                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
                                                                                                                                    0.00
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     16,248.20
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    16,248.20
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    16,248.20
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                               page 2
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Debtor                                                  Main Document
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                                                                                     number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
                                                                                   122,966.00               Cost Price                50,000.00
  Inventory in Ontario Warehouse
   ________________________________________                   ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   50,000.00
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                Ghost Vapes, Inc.                      Main Document
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                                                                                    number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                        $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case 2:20-bk-13542-SK                    Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40 Desc
                 Ghost Vapes, Inc.
 Debtor                                              Main Document    Page 15Case
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                                                                                  number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________   ____________________    $______________________

    47.2___________________________________________________________         $________________   ____________________    $______________________

    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
               Case   2:20-bk-13542-SK
                Ghost Vapes, Inc.
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 Debtor                                                   Main Document
                  _______________________________________________________  Page 16Case
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                                                                                       number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________      ____________________         $_____________________

55.2

                                                                                     $_______________      ____________________         $_____________________

55.3

                                                                                     $_______________      ____________________         $_____________________


56. Total of Part 9.
                                                                                                                                        $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method              Current value of
                                                                                     debtor's interest     used for current value        debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________       $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations                               0.00                                                 0.00 policy
                                                                                                          No sale value, cannot sell per privacy
    List of Customers
    ______________________________________________________________                   $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________        $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________        $____________________

66. Total of Part 10.                                                                                                                      0.00
                                                                                                                                         $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                   page 6
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Debtor            Ghost Vapes, Inc.                     Main Document
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                                                                                     number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
    
    ✔     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      Claim For Error In Federal Income Witholding Tax
     _________________________________________________________________________________                               2019
                                                                                                           Tax year ___________        30,258.00
                                                                                                                                     $_____________________
      Double paid payroll taxes per error by PayChex
     _________________________________________________________________________________
                                                                                                                     2019
                                                                                                           Tax year ___________      $_____________________
                                                                                                                                      2,347.02
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       32,605.02
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case 2:20-bk-13542-SK                              Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40 Desc
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Debtor                                                           Main Document
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                                                                                              number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         238.75
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         16,248.20
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         50,000.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         32,605.02
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         99,091.97                             0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  99,091.97                                                                                        99,091.97
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                Ghost Vapes, Inc.                  Main Document    Page 19 of 57
 Debtor 1                                                         _                 Case number (if known)
               First Name     Middle Name     Last Name



                                                  Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Barclays Bank UK                            Checking                            9188

Balance: 44.13

Barclays Bank UK                            Checking                            5475

Balance: 82.59

Paypal                                      Checking                             ACJQE

Balance: 39.26

Western Alliance                            Checking                            7671

Balance: 72.77




Official Form 206 A/B                                          Schedule A/B: Property
               Case 2:20-bk-13542-SK                             Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40                                             Desc
                                                                 Main Document    Page 20 of 57
  Fill in this information to identify the case:
              Ghost Vapes, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Central District of California

  Case number (If known):       _________________________                                                                                                Check if this is an
                                                                                                                                                             amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                  Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                   Amount of claim           Value of collateral
                                                                                                                                  Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien             of collateral.            claim


      __________________________________________                                                                                  $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________              No
    Last 4 digits of account                                         Yes
    number                   _________________                    Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                    No
    same property?                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                  As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                  Check all that apply.
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                  $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                  Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                  Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                    No
    same property?                                                   Yes
     No                                                          Is anyone else liable on this claim?
     Yes. Have you already specified the relative                   No
              priority?
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
             Yes. The relative priority of creditors is             Unliquidated
                  specified on lines _____                           Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                           0
                                                                                                                                                               page 1 of ___
                 Case 2:20-bk-13542-SK                 Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40                                  Desc
   Fill in this information to identify the case:      Main Document    Page 21 of 57

   Debtor           Ghost Vapes, Inc.
                    __________________________________________________________________

                                           Central District of California
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $_____
                                                                                                           430.00                     430.00
    California Dept. of Tax and Fee Administration                                                              _________________   $_________________
                                                            Check all that apply.
    P.O. Box 942879                                            Contingent
                                                               Unliquidated
     Sacramento, CA, 94279-3535                                Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number        6896
                _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Delaware Division of Corporations                       As of the petition filing date, the claim is: $_____
                                                                                                            Unknown
                                                                                                                _________________   $_________________
                                                            Check all that apply.
    John G. Townsend Bldg.
    401 Federal Street, Suite 4                                Contingent
    Dover, DE, 19901                                           Unliquidated
                                                            
                                                            ✔   Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________
                  3784                                      Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $_____
                                                                                                           1,393.50                  1,393.50
    New York Dept. of Taxation and Finance                                                                      _________________   $_________________
                                                            Check all that apply.
    State Processing Center
                                                               Contingent
    575 Boices Lane                                            Unliquidated
    Kingston, NY, 12401-1083                                   Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________
                  3291                                      Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               11
                                                                                                                                         page 1 of ___
             Case    2:20-bk-13542-SK
              Ghost Vapes, Inc.                       Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40 Desc
  Debtor        _______________________________________________________
                Name                                  Main Document    Page 22Case number (if known)_____________________________________
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 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Acton Indoor RV                                                                                                          330.00
                                                                                                                           $________________________________
                                                                              Contingent
    2210 Soledad Canyon Road                                                  Unliquidated
    Unit C                                                                    Disputed
    Acton, CA, 93510                                                                               Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Anglia Forwarding                                                      Check all that apply.                             0.00
                                                                                                                           $________________________________
    The Anglia Center, Blackwater Close                                       Contingent
    Hyundai Jakarta Shenzhen Fairview Industrial                              Unliquidated
    Park                                                                   
                                                                           ✔   Disputed
    Rainham, RM13 8UA                                                      Basis for the claim:
                                                                                                   Suppliers or Vendors


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Axima Logistics                                                                                                          500.00
                                                                                                                           $________________________________
                                                                              Contingent
    1001 West Walnut Street                                                
                                                                           ✔   Unliquidated
    Compton, CA, 90220                                                        Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Blue Shield                                                            Check all that apply.
                                                                                                                             0.00
                                                                                                                           $________________________________
    601 12th Steet                                                            Contingent
    Oakland, CA, 94607                                                        Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                            Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Cannalysis                                                                                                               0.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    1801 Carnegie Ave                                                         Contingent
    Santa Ana, CA, 92705                                                      Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Cohn Reznick LLP                                                                                                         8,196.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    1900 Avenue of the Stars                                                  Contingent
    28th Floor                                                                Unliquidated
    Los Angeles, CA, 90067                                                    Disputed
                                                                           Basis for the claim:    Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________
                                               6200                        
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                  page __    11
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  Debtor          _______________________________________________________
                  Name                             Main Document    Page 23Case number (if known)_____________________________________
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             990.00
                                                                                                                     $________________________________
 Dave Barry                                                             Contingent
 111 West 16th Street                                                   Unliquidated
 1G                                                                  
                                                                     ✔   Disputed
 New York, NY, 10011
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 DWE
 1-3 La Columberie, St. Helier                                          Contingent
 Jersey JE2 4QB, United Kingdom                                         Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elite Logistics                                                     Check all that apply.
                                                                                                                      148,959.54
                                                                                                                     $________________________________
 305 Sequoia Ave.                                                       Contingent
 Ontario, CA, 91761                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 FIRST Insurance Funding                                             Check all that apply.
 450 Skokie Blvd.                                                       Contingent
 Suite 1000                                                             Unliquidated
 Northbrook, IL, 60062                                               
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ghost Vapes Manufacturing                                           Check all that apply.
                                                                                                                       2,589,861.97
                                                                                                                     $________________________________
 Wickams Cay 1, Roadtown                                                Contingent
 Tortola, British Virgin Islands                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             60,958.00
                                                                                                                     $________________________________
 Green St. GS Agency LLC                                                Contingent
 714 S. Hill Street                                                     Unliquidated
 Suite 201                                                           
                                                                     ✔   Disputed
 Los Angeles, CA, 90014
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        04/01/19
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Hall of Flowers
 1350 Bennett Valley Rd                                                 Contingent
 Santa Rosa, CA, 95404                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hansen, Collier M                                                   Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 6626 Franklin Ave                                                      Contingent
 Apt #308                                                               Unliquidated
 Los Angeles, CA, 90028                                              
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Hatch, Travis H                                                     Check all that apply.
 2180 W 104th Pl                                                        Contingent
                                                                        Unliquidated
 Northglenn, CO, 80234                                               
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hecker, Steven L                                                    Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 4215 Lyceum                                                            Contingent
                                                                        Unliquidated
 Los Angeles, CA, 90066                                              
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Hub International                                                      Contingent
 16030 Ventura Blvd.                                                    Unliquidated
 Suite 500                                                           
                                                                     ✔   Disputed
 Encino, CA, 91436
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,438.35
                                                                                                                     $________________________________
 Hudson Valley
 State University College at New Paltz                                  Contingent
 EIH 103, 1 Hawk Drive                                                  Unliquidated
 New Paltz, NY, 12561                                                   Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Impact Tech, Inc.                                                   Check all that apply.
                                                                                                                      53,285.59
                                                                                                                     $________________________________
 223 E. De La Guerra Street                                             Contingent
 Santa Barbara, CA, 93101                                               Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Jennings, Aric L                                                    Check all that apply.
 2523 Amherst Ave                                                       Contingent
                                                                        Unliquidated
 Los Angeles, CA, 90064                                                 Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kelly, Tara A                                                       Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 4465 West 5th Street                                                   Contingent
                                                                        Unliquidated
 Los Angeles, CA, 90020                                              
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,000.00
                                                                                                                     $________________________________
 Kount                                                                  Contingent
 1005 West Main Street                                                  Unliquidated
 Boise, ID, 83702                                                    
                                                                     ✔   Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Lesaca, Virgil E
 11010 Fleetwood St                                                     Contingent
                                                                        Unliquidated
 Sun Valley, CA, 91352                                               
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 LIVESTYLE                                                           Check all that apply.
                                                                                                                      17,274.28
                                                                                                                     $________________________________
 9171 Wilshire Blvd.                                                    Contingent
 Suite 500                                                              Unliquidated
 Beverly Hills, CA, 90210                                            
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Mark de Lange                                                       Check all that apply.
 Laurel House, 5 Laurel Place Staplestreet                              Contingent
 Faversham ME13 9TZ                                                     Unliquidated
 United Kingdom                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MediaJel                                                            Check all that apply.
                                                                                                                       20,295.00
                                                                                                                     $________________________________
 1475 N. Broadway                                                       Contingent
 Suite 400                                                              Unliquidated
 Walnut Creek, CA, 94596                                             
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Mirsky, Daniel I                                                       Contingent
 6660 Vineland Ave                                                      Unliquidated
 Apt 15                                                              
                                                                     ✔   Disputed
 North Hollywood, CA, 91606
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Patterson, Wallace G
 72 Kiersted Ave                                                        Contingent
                                                                        Unliquidated
 Kingston, NY, 12401                                                    Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 PAYCHEX                                                             Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 9 River Park Place East                                                Contingent
 Suite 210                                                              Unliquidated
 Fresno, CA, 93720                                                   
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Plumley, Thomas                                                     Check all that apply.
 14311 Addison St                                                       Contingent
 #310                                                                   Unliquidated
 Sherman Oaks, CA, 91423                                             
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Premium Assignment                                                  Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 3522 Thomasville Road                                                  Contingent
 Suite 400                                                              Unliquidated
 Tallahassee, FL, 32309                                              
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             301.96
                                                                                                                     $________________________________
 Referral Candy                                                         Contingent
 599 2nd St.                                                            Unliquidated
 San Francisco, CA, 94107                                               Disputed

                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       22,039.65
                                                                                                                     $________________________________
 Schlesinger Group
 711 3rd Avenue                                                         Contingent
 9th Floor                                                              Unliquidated
 New York, NY, 10017                                                 
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sharples, Jessica M                                                 Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 3971 Bentley Ave                                                       Contingent
                                                                        Unliquidated
 Culver City, CA, 90232                                              
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Shehab, Ahmed S                                                     Check all that apply.
 400 N Acacia Ave                                                       Contingent
 Apt #C26                                                               Unliquidated
 Fullerton, CA, 92831                                                
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Spikes, Aisha                                                       Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 8805 D Berkshire Way                                                   Contingent
                                                                        Unliquidated
 Inglewood, CA, 90305                                                
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,797.00
                                                                                                                     $________________________________
 Trustpilot                                                             Contingent
 P.O. Box 392680                                                        Unliquidated
 Pittsburgh, PA, 15251-9680                                          
                                                                     ✔   Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       2338
                                              ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       11,845.87
                                                                                                                     $________________________________
 Vapelabs LLC
 P.O. Box 4238                                                          Contingent
 Huntington, NY, 11743                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Violetta Group                                                      Check all that apply.
                                                                                                                      13,261.13
                                                                                                                     $________________________________
 1800 Century Park E                                                    Contingent
 Los Angeles, CA, 90067                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      7,290.10
                                                                                                                     $________________________________
 Warehouse Goods LLC                                                 Check all that apply.
 1095 Broken Sound Pkwy NW                                              Contingent
 Suite 300                                                              Unliquidated
 Boca Raton, FL, 33487                                               
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 WeWork 520 Broadway LLC                                             Check all that apply.
                                                                                                                       7,070.00
                                                                                                                     $________________________________
 520 Broadway                                                           Contingent
 Suite 200                                                              Unliquidated
 Santa Monica, CA, 90401                                             
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Delaware Division of Corporations
4.1.      PO Box 898                                                                                2.2
                                                                                               Line _____
          Dover, DE, 19903                                                                                                                        3784
                                                                                                                                                ________________
                                                                                                    Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              11
                                                                                                                                                                10 of ___
                                                                                                                                                           page __
             Case    2:20-bk-13542-SK
              Ghost Vapes, Inc.                  Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40 Desc
 Debtor        _______________________________________________________
               Name                              Main Document    Page 31Case number (if known)_____________________________________
                                                                          of 57
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          1,823.50
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     2,970,694.44
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                2,972,517.94
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __
                                                                                                                                      11 of ___
                                                                                                                                             11
             Case 2:20-bk-13542-SK                    Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40                                        Desc
                                                      Main Document    Page 32 of 57
 Fill in this information to identify the case:

             Ghost Vapes, Inc.
 Debtor name __________________________________________________________________

                                         Central District of California
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease for Flex Space                              WeWork WW 520 Broadway LLC
         State what the contract or    Lessee                                            520 Broadway
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Suite 200
                                                                                         Santa Monica, CA, 90401
         State the term remaining
         List the contract number of
         any government contract

                                       Master Services Agreement                         Elite Logistics
         State what the contract or    Purchaser                                         305 Sequoia Ave.
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Ontario, CA, 91761

         State the term remaining      4 months
         List the contract number of
         any government contract

                                       Master Services Agreement                          Kount
         State what the contract or    Purchaser                                          1005 West Main Street
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Boise, ID, 83702

         State the term remaining      1 month
         List the contract number of
         any government contract

                                       Agreement                                          Impact Tech, Inc.
         State what the contract or
 2.4                                   Purchaser                                          223 E. De La Guerra Street
         lease is for and the nature
         of the debtor’s interest                                                         Santa Barbara, CA, 93101

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
             Case 2:20-bk-13542-SK                     Doc 1 Filed 04/07/20 Entered 04/07/20 13:14:40                                        Desc
                                                       Main Document    Page 33 of 57
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Ghost Vapes, Inc.

                                         Central District of California
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                       _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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Fill in this information to identify the case:
             Ghost Vapes, Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Central District of California District of _________
                                                                               (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
            may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                            
                                                                                                ✔ Operating a business
                                                                                                                                                     0.00
           fiscal year to filing date:            04/01/2020
                                            From ___________         to     Filing date          Other                             $_____________________
                                                   MM / DD / YYYY


           For prior year:                        04/01/2019
                                            From ___________         to      03/31/2020
                                                                             ___________        ✔ Operating a business
                                                                                                                                              891,511.75
                                                   MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                 Other
           For the year before that:              04/01/2018
                                            From ___________         to      03/31/2019
                                                                             ___________        
                                                                                                ✔ Operating a business
                                                                                                                                             1,816,555.30
                                                   MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                 Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                                                                              0.00
                                                                                               ___________________________         $__________________
           fiscal year to filing date: From 04/01/2020
                                            ___________               to     Filing date
                                                   MM / DD / YYYY



           For prior year:                  From 04/01/2019
                                                 ___________          to     03/31/2020
                                                                             ___________
                                                   MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                   $__________________



           For the year before that:        From 04/01/2018
                                                 ___________          to     03/31/2019
                                                                             ___________
                                                   MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                   $__________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
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                 Ghost Vapes, Inc.
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Blue Shield
             __________________________________________
                                                              2/3/20
                                                                ________       $_________________
                                                                                8,487.92                         Secured debt
             Creditor’s name
              601 12th Steet
                                                                                                                 Unsecured loan repayments
              Oakland, CA 94607                                 ________
                                                              2/20/20                                            Suppliers or vendors

                                                                                                            
                                                                                                            ✔     Services
                                                                ________
                                                              3/2/20                                             Other _______________________________


     3.2.

              Elite Logistics                                   ________
                                                              01/07/20         $_________________
                                                                                80,000.00                        Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              305 Sequoia Ave.
              Ontario, CA 91761                                 ________
                                                              01/17/20                                           Suppliers or vendors

                                                                                                            
                                                                                                            ✔     Services
                                                                ________
                                                              01/31/20                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value        Reasons for payment or transfer
     4.1.
             Aric Jennings
             __________________________________________  _________
                                                        05/01/19               81,237.11
                                                                             $__________________
             Insider’s name
                                                                                                          Expense reimbursements
             2523 Amherst Ave                                  _________
                                                              05/14/19
             Los Angeles, CA 90064
                                                               _________
                                                              05/28/19


             Relationship to debtor
              President
             __________________________________________



     4.2.    Ghost Herbal Concepts Ltd.
             __________________________________________
             Insider’s name
                                                                _________
                                                              4/26/19          18,285.63
                                                                             $__________________
             Wickams Cay 1, Roadtown                                                                      Payments were made to creditors for
             Tortola, British Virgin Islands                    _________
                                                              5/4/19
                                                                                                          the benefit of Ghost Herbal Concepts
                                                                                                          Ltd. and credited against
                                                               _________                                  intercompany loan owed by Debtor.
                                                                                                          Creditors paid were O'Logic
                                                                                                          $16,469.01 (4/26/19) and Adi
                                                                                                          Orucevic $1,816.62 (5/4/19)
             Relationship to debtor
             Parent Corporation
             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
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                 Ghost Vapes, Inc.
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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                 Ghost Vapes, Inc.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given            Value


     9.1.
            __________________________________________                                                                       _________________    $__________
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________    $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss         Value of property
             occurred                                            If you have received payments to cover the loss, for                             lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________    $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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                Ghost Vapes, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

            Burke, Williams & Sorensen, LLP
            __________________________________________
   11.1.                                                                                                                 04/2020
                                                                                                                         ______________      $_________
                                                                                                                                               6,790.18
            Address

            444 S. Flower Street
            Suite 2400
            Los Angeles, CA 90071




            Email or website address
            jbuchman@bwslaw.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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                Ghost Vapes, Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    9242 Beverly Boulevard                                                                             From        09/2017
                                                                                                                          ____________       To   08/2019
                                                                                                                                                  ____________
            Beverly Hills, CA 90210




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
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                 Ghost Vapes, Inc.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                      Name, address, and email only.
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                 
                 ✔   Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Ghost Vapes, Inc.
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                          Aric Jennings                               Trailer                                          No
             Acton Indoor RV
             ______________________________________
            Name
                                                                                                                                                      
                                                                                                                                                      ✔ Yes

             2210 Soledad Canyon Rd
             Acton, CA 93510

                                                            Address
                                                          2523 Amherst Ave
                                                          Los Angeles, CA 90064




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              Ghost Vapes, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Cohn Reznick LLP                                                                                From 06/06/2017
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               03/31/2020
              1900 Avenue of the Stars, 28th Floor, Los Angeles, CA 90067                                     To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Richard Schiessl
                    ______________________________________________________________________________
                    Name
                     Jersey, UK




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Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Ghost Herbal Concepts Ltd.                  Wickams Cay 1, Roadtown Tortola, British Virgin         Owner                                   100
                                             Islands,




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value
            Aric Jennings                                                                                                                   Salary and
   30.1.    ______________________________________________________________            167,375.52
                                                                                      _________________________          _____________
            Name                                                                                                                            compensation
            2523 Amherst Ave
            Los Angeles, CA 90064                                                                                        _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            President
            ______________________________________________________________                                               _____________
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                   Ghost Vapes, Inc.
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       04/06/2020
                               _________________
                                MM / DD / YYYY



             ___________________________________________________________                              Aric Jennings
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                  Case number (if known)



                                       Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

FIRST Insurance Funding,           $29,939.32                              Services
450 Skokie Blvd. Suite
1000, Northbrook, IL
60062

Green St. GS Agency LLC,           $18,288.00                              Services
714 S. Hill Street Suite
201, Los Angeles, CA
90014

LIVESTYLE, 9171 Wilshire           $9,792.00                               Services
Blvd. Suite 500, Beverly
Hills, CA 90210

Jennings, Aric L, 2523             $33,741.57                              Monies loaned / advanced
Amherst Ave, Los Angeles,
 CA 90064

Patterson, Wallace G, 72           $14,813.51                              Monies loaned / advanced
Kiersted Ave, Kingston,
NY 12401

WeWork 520 Broadway LLC,           $24,415.00                              Rent
520 Broadway Suite 200,
Santa Monica, CA 90401

DWE, 1-3 La Columberie,            $7,647.09                               Services
St. Helier Jersey JE2
4QB, United Kingdom

Mark de Lange, Laurel              $10,377.91                              Services
House, 5 Laurel Place
Staplestreet Faversham
ME13 9TZ
United Kingdom




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                                        United States Bankruptcy Court
                                                 CENTRAL DISTRICT OF CALIFORNIA



In re
GHOST VAPES, INC.                                                                                    Case No.

Debtor                                                                                               Chapter 7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept............................................................ $ 6,790.18

     Prior to the filing of this statement I have received............................................... $ 6,790.18

     Balance Due .......................................................................................................... $ 0.00

2.   The source of the compensation paid to me was:

                 Debtor                                Other (specify)

3.   The source of compensation to be paid to me is:

                 Debtor                                Other (specify)

4.            I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;




                                                                                                                         American LegalNet, Inc.
                                                                                                                         www.FormsWorkFlow.com
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       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

       e.   [Other provisions as needed]




  6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

       Representation of the debtor in adversary proceedings and other contested bankruptcy matters




                                                       CERTIFICATION

               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
            me for representation of the debtor(s) in this bankruptcy proceeding.

            4/6/2020                            /s/ Joseph P. Buchman
            Date                                     Signature of Attorney

                                                 Burke, Williams & Sorensen, LLP
                                                     Name of law firm




                                                                                      American LegalNet, Inc.
                                                                                      www.FormsWorkFlow.com
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     Acton Indoor RV
     2210 Soledad Canyon Road
     Unit C
     Acton, CA 93510


     Anglia Forwarding
     The Anglia Center, Blackwater Close
     Hyundai Jakarta Shenzhen Fairview I
     Rainham, RM13 8UA


     Axima Logistics
     1001 West Walnut Street
     Compton, CA 90220


     Blue Shield
     601 12th Steet
     Oakland, CA 94607


     California Dept. of Tax & Fee Admin
     P.O. Box 942879
     Sacramento, CA 94279-3535


     Cannalysis
     1801 Carnegie Ave
     Santa Ana, CA 92705


     Cohn Reznick LLP
     1900 Avenue of the Stars
     28th Floor
     Los Angeles, CA 90067


     Dave Barry
     111 West 16th Street
     1G
     New York, NY 10011
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     Delaware Division of Corporations
     John G. Townsend Bldg.
     401 Federal Street, Suite 4
     Dover, DE 19901


     Delaware Division of Corporations
     PO Box 898
     Dover, DE 19903


     DWE
     1-3 La Columberie, St. Helier
     Jersey JE2 4QB, United Kingdom


     Elite Logistics
     305 Sequoia Ave.
     Ontario, CA 91761


     FIRST Insurance Funding
     450 Skokie Blvd.
     Suite 1000
     Northbrook, IL 60062


     Ghost Herbal Concepts Ltd.
     Wickams Cay 1, Roadtown
     Tortola, British Virgin Islands


     Ghost Vapes Manufacturing
     Wickams Cay 1, Roadtown
     Tortola, British Virgin Islands


     Green St. GS Agency LLC
     714 S. Hill Street
     Suite 201
     Los Angeles, CA 90014
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     Hall of Flowers
     1350 Bennett Valley Rd
     Santa Rosa, CA 95404


     Hansen, Collier M
     6626 Franklin Ave
     Apt #308
     Los Angeles, CA 90028


     Hatch, Travis H
     2180 W 104th Pl
     Northglenn, CO 80234


     Hecker, Steven L
     4215 Lyceum
     Los Angeles, CA 90066


     Hub International
     16030 Ventura Blvd.
     Suite 500
     Encino, CA 91436


     Hudson Valley
     State University College New Paltz
     EIH 103, 1 Hawk Drive
     New Paltz, NY 12561


     Impact Tech, Inc.
     223 E. De La Guerra Street
     Santa Barbara, CA 93101


     Jennings, Aric L
     2523 Amherst Ave
     Los Angeles, CA 90064
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     Kelly, Tara A
     4465 West 5th Street
     Los Angeles, CA 90020


     Kount
     1005 West Main Street
     Boise, ID 83702


     Lesaca, Virgil E
     11010 Fleetwood St
     Sun Valley, CA 91352


     LIVESTYLE
     9171 Wilshire Blvd.
     Suite 500
     Beverly Hills, CA 90210


     Mark de Lange
     Laurel House, 5 Laurel Place Staple
     Faversham ME13 9TZ
     United Kingdom


     MediaJel
     1475 N. Broadway
     Suite 400
     Walnut Creek, CA 94596


     Mirsky, Daniel I
     6660 Vineland Ave
     Apt 15
     North Hollywood, CA 91606


     New York Dept of Taxation & Finance
     State Processing Center
     575 Boices Lane
     Kingston, NY 12401-1083
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     Patterson, Wallace G
     72 Kiersted Ave
     Kingston, NY 12401


     PAYCHEX
     9 River Park Place East
     Suite 210
     Fresno, CA 93720


     Plumley, Thomas
     14311 Addison St
     Sherman Oaks, CA 91423


     Premium Assignment
     3522 Thomasville Road
     Suite 400
     Tallahassee, FL 32309


     Referral Candy
     599 2nd St.
     San Francisco, CA 94107


     Schlesinger Group
     711 3rd Avenue
     9th Floor
     New York, NY 10017


     Sharples, Jessica M
     3971 Bentley Ave
     Culver City, CA 90232


     Shehab, Ahmed S
     400 N Acacia Ave
     Apt #C26
     Fullerton, CA 92831
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     Spikes, Aisha
     8805 D Berkshire Way
     Inglewood, CA 90305


     Trustpilot
     P.O. Box 392680
     Pittsburgh, PA 15251-9680


     Vapelabs LLC
     P.O. Box 4238
     Huntington, NY 11743


     Violetta Group
     1800 Century Park E
     Los Angeles, CA 90067


     Warehouse Goods LLC
     1095 Broken Sound Pkwy NW
     Suite 300
     Boca Raton, FL 33487


     WeWork 520 Broadway LLC
     520 Broadway
     Suite 200
     Santa Monica, CA 90401


     WeWork WW 520 Broadway LLC
     520 Broadway
     Suite 200
     Santa Monica, CA 90401
